          Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 1 of 54




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 CAROLYN SMITH, et al.,                              §
     Plaintiffs,                                     §
                                                     §
 v.                                                  §               Case No. 1:19-cv-01054-RP
                                                     §
 THE CITY OF BASTROP, TEXAS, et al.,                 §
      Defendants.                                    §

                                    NOTICE TO THE COURT

        Defendants jointly file this notice with the documents listed below pursuant to Local Rule

16(e) in advance of the May 17, 2021 nonjury trial in the above-styled matter:

        Exhibit A        Stipulated Facts

        Exhibit B        Defendants’ Joint List of Trial Exhibits

        Exhibit C        Defendants’ Joint List of Trial Witnesses

        Exhibit D        Defendants’ Proposed Findings of Fact and Conclusions of Law

        Exhibit E        Estimate of probable length of trial




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Respectfully submitted,


 /s/ Jeff Hobbs                                       /s/ Bradford E. Bullock_________
 MICHAEL J. WHELLAN                                    GEORGE E. HYDE
 State Bar No. 21265550                                State Bar No 45006157
 mwhellan@abaustin.com                                 ghyde@txlocalgovlaw.com
 JEFFREY J. HOBBS                                      BRADFORD E. BULLOCK
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 ARMBRUST & BROWN, PLLC                                RUSSELL RODRIGUEZ HYDE
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 (512) 435-2360 – facsimile                            (512) 930-1317 – telephone
 ATTORNEYS FOR DEFENDANT                               (866) 929-1641 – facsimile
 TF HUNTERS CROSSING, L.P.                             ATTORNEYS FOR THE CITY OF
                                                       BASTROP, TEXAS, CONNIE
                                                       SCHROEDER, WILLIE LEWIS
                                                       “BILL” PETERSON, DRUSILLA
                                                       ROGERS, LYLE NELSON, BILL
                                                       ENNIS, DOCK JACKSON, RICK
                                                       WOMBLE, MICHELLE DODSON,
                                                       AND TABITHA PUCEK


                                    CERTIFICATE OF SERVICE

     I hereby certify that on April 21, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record, and electronic mail.

                                                  Rick Milvenan
                                                  Ian Davis
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                                                    /s/ Jeff Hobbs
                                             Jeff Hobbs




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          EXHIBIT A
         Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 4 of 54




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

CAROLYN SMITH, THE VILLAGE AT              §
HUNTERS CROSSING, L.L.C. and               §
LIRTEX PROPERTIES, LLC,                    §
                                           §
           Plaintiffs,                     §
                                           §
v.                                         §
                                           §
THE CITY OF BASTROP, TEXAS,                §
CONNIE SCHROEDER, WILLIE LEWIS §
“BILL” PETERSON, DRUSILLA                  §
ROGERS, LYLE NELSON, BILL ENNIS, §
and DOCK JACKSON, each in his or her       §
official capacity as a member of the City  §
Council of the City of Bastrop, Texas, and §           CIVIL ACTION NO. 1:19-cv-01054
LYNDA HUMBLE, DRUSILLA                     §
ROGERS, RICK WOMBLE, MICHELLE §
DODSON, LYLE NELSON AND                    §
TABITHA PUCEK, each in his or her          §
official capacity as a Director of Hunters §
Crossing Local Government Corporation, §
and TF HUNTERS CROSSING, L.P. as           §
successor-in-interest to FORESTAR (USA) §
REAL ESTATE GROUP, INC.,                   §
                                           §
        Defendants.


                                    STIPULATED FACTS
TO THE HONORABLE UNITED STATES DISTRICT JUDGE ROBERT L. PITMAN:
       Pursuant to Local Rule CV-16(e)(3), Plaintiffs Carolyn Smith, The Village at Hunters

Crossing, L.L.C., and LIRTEX Properties, LLC, (“Plaintiffs”) and Defendants City of Bastrop,

Texas, Connie Schroeder, Willie Lewis “Bill” Peterson, Drusilla Rogers, Lyle Nelson, Bill Ennis,

Dock Jackson, Paul Hofmann, Rick Womble, Michelle Dodson and Tabitha Pucek (“City

Defendants”), and TF Hunters Crossing, LP (combined “Defendants”) file the following stipulated

facts for trial in the above-referenced and numbered case:


                                                              EXHIBIT A
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1.    On September 11, 2001, the City of Bastrop (the “City”) approved Resolution No. R-2001-
      19.
2.    On November 11, 2003, the City approved Resolution No. R-2003-34.
3.    On November 11, 2003, the City approved Resolution No. R-2003-36.
4.    On November 13, 2003, the City published notice in the Bastrop Advertiser of a public
      hearing to be held on November 25, 2003 regarding Ordinance No. 2003-35.
5.    On November 25, 2003, the City Council approved the first reading of Ordinance No.
      2003-35.
6.    On December 9, 2003, the City adopted Ordinance No. 2003-35 (the “2003 Ordinance”).
7.    On February 2, 2004, the 2003 Ordinance was recorded as document no. 200401641 in the
      real property records of Bastrop County.
8.    At the time the 2003 Ordinance was enacted, the original PID developer, Sabine Investment
      Company (“Sabine”), owned all of the properties in the PID except for three properties: (i)
      “HXC-1 (Home Depot Lot 1) (property ID no. 90301); (ii) HXC-1 (Chilis Lot 1) (property
      ID no. 92325); and (iii) HXC-1 (Balance of Retail Lot 2) (property ID no. 95379).
9.    On February 24, 2004, the original PID developer, Sabine, entered into a Development and
      Reimbursement Agreement with the City.
10.   On November 11, 2004, the City published notice in the Bastrop Advertiser of a public
      hearing to be held on November 23, 2004, to consider an amendment to the 2003
      Ordinance.
11.   On December 14, 2004, the City adopted Ordinance No. 2004-42 (the “2004 Ordinance”).
12.   On December 27, 2004, the 2004 Ordinance was recorded as document no. 200420005 in
      the real property records of Bastrop County.
13.   Plaintiff Carolyn Smith is an individual residing in Bastrop, Texas, acting as Trustee of the
      Smith Family Revocable Trust.
14.   Carolyn Smith’s residence is identified as property ID no. R95408 in Ordinance No. 2019-
      40 (the “2019 Ordinance”).
15.   Plaintiff LIRTEX Properties, LLC (“LIRTEX”) is a Texas limited liability company doing
      business in Bastrop, Texas.
16.   LIRTEX owns the real property identified as HXC-2 in the 2003 Ordinance, and property
      ID nos. R114958 and R30102 in the 2019 Ordinance.
17.   Plaintiff The Village at Hunters Crossing, LLC (“VHC”) is a Texas limited liability
      company doing business in Bastrop, Texas.
       Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 6 of 54




18.   VHC owns portions of the real property identified as HXC-5, HXM-1, and HXP-4 in the
      2003 Ordinance, and property ID no. R104899 in the 2019 Ordinance.
19.   Defendant The City of Bastrop, Texas is a home-rule municipality located in Bastrop
      County, Texas.

20.   Defendant The Hunters Crossing Local Development Corporation (“HCLGC”) was
      incorporated on March 23, 2004.

21.   Defendant Connie Schroeder is sued in her official capacity as Mayor and Council Member
      of the City of Bastrop.

22.   Defendant Willie Lewis “Bill” Peterson is sued in his official capacity as a Council
      Member of the City of Bastrop.

23.   Defendant Drusilla Rogers is sued in her official capacity as a Council Member of the City
      of Bastrop and in her official capacity as Director of Hunters Crossing Local Government
      Corporation

24.   Defendant Lyle Nelson is sued in his official capacity as a Council Member of the City of
      Bastrop and in his official capacity as Director of Hunters Crossing Local Government
      Corporation

25.   Bill Ennis is sued in his official capacity as a Council Member of the City of Bastrop.

26.   Dock Jackson is sued in his official capacity as a Council Member of the City of Bastrop.

27.   Paul Hofmann is sued in his official capacity as Director of Hunters Crossing Local
      Government Corporation.

28.   Rick Womble is sued in his official capacity as Director of Hunters Crossing Local
      Government Corporation.

29.   Michelle Dodson is sued in her official capacity as Director of Hunters Crossing Local
      Government Corporation.

30.   Tabitha Pucek is sued in her official capacity as Director of Hunters Crossing Local
      Government Corporation.

31.   At the inception of the PID, the original PID developer was Sabine Investment Company
      (“Sabine”).
32.   Sometime in 2005, Sabine changed its name to Forestar (USA) Real Estate Group, Inc.
      (“Forestar”).
       Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 7 of 54




33.   At the time the 2003 Ordinance was enacted, the original developer owned a majority of
      the land comprising the PID.
34.   Defendant TF Hunters Crossing is a Delaware limited partnership with its principal place
      of business in Miami, Florida.

35.   In February 2018, TF Hunters Crossing executed a contract with the original PID
      developer, Sabine/Forestar.

36.   Pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar assigned to TFHC the
      right to receive all PID developer reimbursements under the 2004 Development and
      Reimbursement Agreement with the City.

37.   On February 7, 2018, pursuant to the TFHC-Sabine/Forestar contract, Sabine/Forestar also
      conveyed to TFHC by special warranty deed roughly 38 acres of land in the PID.
38.   In 2005, the original PID developer, Sabine/Forestar, broke ground on PID improvement
      projects.
39.   Neither the City nor the HCLGC has incurred any project costs for capital improvements
      associated with the PID.
40.   The City has never issued bonds in connection with the PID.
41.   The City never issued a time warrant or temporary note to the PID developer to fund the
      construction of capital improvements.
42.   The original developer never borrowed any money from the City to pay for capital
      improvement project costs associated with the PID.
43.   TFHC has never borrowed any money from the City to pay for capital improvement project
      costs associated with the PID.
44.   The City did not, at any time from 2005 through August 2019, update or amend the 2003
      Ordinance, or adopt a new ordinance governing the PID, to include capital improvement
      expenditures incurred or spent by the PID developer from 2005 through 2018
45.   In 2011, the HCLGC commissioned an independent accountant, Singleton, Clark &
      Company, PC (“Singleton”) to perform an Analysis of Developer Costs from July 1, 2007
      to June 30, 2010 (the “Singleton Report”).
46.   When the Singleton Report was issued on July 12, 2011, the original developer had
      completed the majority of all capital improvement projects in the PID.
47.   On September 28, 2017, the City Council reviewed the 2003 service and assessment plan.
48.   On September 28, 2017, the City of Bastrop adopted Ordinance No. 2017-26.
49.   On September 25, 2018, the City Council reviewed the 2003 service and assessment plan.
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50.   On September 25, 2018, the City of Bastrop adopted Ordinance No. 2018-24.
51.   On September 24, 2019, the City of Bastrop adopted Ordinance No. 2019-40.
52.   As of September 24, 2019, the Bastrop County Tax Assessor collected an aggregate of
      $2,05,097.71 in capital assessment payments from all PID property owners, the entirety of
      which was reimbursed by the City to the Developer pursuant to the 2004 Development and
      Reimbursement Agreement.
53.   From the inception of the PID until September 24, 2019, the Bastrop County Tax Assessor
      collected PID assessments by property ID.
54.   The annual assessment installments were identified as one aggregate sum that included
      both the annual capital assessment installment and the annual operations and maintenance
      (“O&M”) assessment installment.
55.   On August 19, 2019, the City hosted a town hall meeting to review the proposed 2019
      amended and restated service and assessment plan (“2019 SAP”).
56.   At the August 19, 2019 town hall meeting, the City provided PID property owners with a
      four-page pamphlet (the “Town Hall Pamphlet”) explaining the impetus behind the 2019
      Ordinance as well as its contents.
57.   On August 31, 2019, the City published notice in the Bastrop Advertiser of a public hearing
      to be held on September 10, 2019 to consider the 2019 annual review of the service and
      assessment plan.
58.   On September 10, 2019, the City approved the first reading of Ordinance No. 2019-40.
59.   On September 12, 2019, the City published notice in the Bastrop Advertiser of a public
      hearing to be held on September 24, 2019 to consider the annual review of the 2019 annual
      review of the service and assessment plan.
60.   On September 24, 2019, the City of Bastrop adopted Ordinance No. 2019-40.
61.   On September 24, 2019, the City of Bastrop adopted Resolution No. R-2019-86.
62.   The capital improvement costs associated with PID improvement projects have all been
      incurred by TFHC and its predecessor in interest, Sabine/Forestar.
         Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 9 of 54




       Respectfully submitted,


By: /s/ Richard D. Milvenan               By: /s/ George E. Hyde

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Ian M. Davis                              Bradford E. Bullock
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COUNSEL FOR PLAINTIFFS
                                          COUNSEL FOR DEFENDANT CITY OF
                                          BASTROP AND INDIVIDUAL DEFENDANTS

By: /s/ Michael J. Whellan

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Jeffrey J. Hobbs
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COUNSEL FOR DEFENDANT
TF HUNTERS CROSSING, L.P.
Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 10 of 54




           EXHIBIT B
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

CAROLYN SMITH, et al.,                                   §
    Plaintiffs,                                          §
                                                         §
v.                                                       §              Case No. 1:19-cv-01054-RP
                                                         §
THE CITY OF BASTROP, TEXAS, et al.,                      §
     Defendants.                                         §

                      DEFENDANTS’ JOINT LIST OF TRIAL EXHIBITS

          Defendants jointly provide the list below of exhibits they intend to offer at the trial of the

above-styled matter. Parenthetical references either identify the Bates labels for documents

produced in discovery or the prefix “MSJ Exhibit ___” which refer to exhibits attached to

Defendants’ Joint Response to Plaintiffs’ Motion for Partial Summary Judgment and Cross-

Motion for Summary Judgment.


Exhibit No.                                          Description
    1             Special Warranty Deed dated July 30, 2004 (PLAINTIFFS 000465-466)
    2             Deed Without Warranty dated December 2, 2014 (COB001-003)
    3             Special Warranty Deed with Vendor’s Lien dated May 15, 2015 (PLAINTIFFS
                  000032-40)
      4           Special Warranty Deed dated November 16, 2017 (TFHC 88859-88860)
      5           Special Warranty Deed dated December 23, 2015 (TFHC 88852-88858)
      6           State of Delaware Certificate of Limited Partnership for TF Hunters Crossing, LP
                  dated January 18, 2018 (TFHC 88861-88862)
      7           Plaintiff Carolyn Smith’s Answers to First Set of Interrogatories and Responses to
                  First Request for Production of TF Hunters Crossing, LP
      8           Plaintiff The Village at Hunters Crossing, LLC’s Answers to First Set of
                  Interrogatories and Responses to First Request for Production of TF Hunters
                  Crossing, LP
      9           Plaintiff LIRTEX Properties, LLC’s Answers to First Set of Interrogatories and
                  Responses to First Request for Production of TF Hunters Crossing, LP
      10          Resolution No. R-2001-19 (MSJ Exhibit 1)
      11          Resolution No. R-2003-34 (MSJ Exhibit 2)
      12          Ordinance No. 2003-35 (MSJ Exhibit 3)
      13          2003 Service and Assessment Plan (MSJ Exhibit 3A)


Defendants’ Joint List of Trial Exhibits – Page 1 of 3
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      14         Ordinance No. 2003-35, pg. 1 of recorded instrument (MSJ Exhibit 3B)
      15         Ordinance No. 2017-26 (MSJ Exhibit 4)
      16         Ordinance No. 2018-24 (MSJ Exhibit 5)
      17         Resolution No. R-2019-86 (MSJ Exhibit 6)
      18         Ordinance No. 2019-40 (MSJ Exhibit 7)
      19         Ordinance No. 2004-42 (MSJ Exhibit 8)
      20         Agenda, public notices, and minutes from Hunters Crossing Local Government
                 Corporation approving and adopting SAP for Fiscal Years 2013, 2014, 2015,
                 2016, 2017 (MSJ Exhibit 9)
      21         Hunters Crossing Local Government Corporation Articles of Incorporation (MSJ
                 Exhibit 10)
      22         Hunters Crossing Local Government Corporation First Amended Bylaws (MSJ
                 Exhibit 11)
      23         2011 Singleton Clark Analysis of Developer Costs (MSJ Exhibit 12)
      24         2004 PID Agreement for Developer Reimbursement (MSJ Exhibit 13)
      25         City of Bastrop Council Meeting Minutes 9/10/2019 (MSJ Exhibit 14)
      26         PID Assessment Lien Release – Undeveloped Lot (MSJ Exhibit 15)
      27         Final Plat Hunters Crossing Section Three (MSJ Exhibit 22)
      28         Bastrop Advertiser Notices of Public Hearings on 2019 Amended SAP (MSJ
                 Exhibit 23)
      29         Council Minutes appointing Trey Job to HCLGC (MSJ Exhibit 25)
      30         City Secretary Business Records Affidavit (MSJ Exhibit 29)
      31         Assessment Reconciliation Spreadsheet (MSJ Exhibit 26-1, filed on April 19,
                 2021 as Corrected Affidavit of Tracy Waldron)



Respectfully submitted,


/s/ Jeff Hobbs                                           /s/ Bradford E. Bullock_________
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Defendants’ Joint List of Trial Exhibits – Page 2 of 3
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TF HUNTERS CROSSING, L.P.                                    ATTORNEYS FOR THE CITY OF
                                                             BASTROP, TEXAS, CONNIE
                                                             SCHROEDER, WILLIE LEWIS
                                                             “BILL” PETERSON, DRUSILLA
                                                             ROGERS, LYLE NELSON, BILL
                                                             ENNIS, DOCK JACKSON, RICK
                                                             WOMBLE, MICHELLE DODSON,
                                                             AND TABITHA PUCEK



                                     CERTIFICATE OF SERVICE

    I hereby certify that on April 21, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of
electronic filing to all counsel of record, and electronic mail.

George E. Hyde                                           Rick Milvenan
Bradford E. Bullock                                      Ian Davis
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                                                          /s/ Jeff Hobbs
                                                   Jeff Hobbs




Defendants’ Joint List of Trial Exhibits – Page 3 of 3
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          EXHIBIT C
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 CAROLYN SMITH, et al.,                                   §
     Plaintiffs,                                          §
                                                          §
 v.                                                       §   Case No. 1:19-cv-01054-RP
                                                          §
 THE CITY OF BASTROP, TEXAS, et al.,                      §
      Defendants.                                         §

                     DEFENDANTS’ JOINT LIST OF TRIAL WITNESSES

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4.      Julie Forte
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5.      Patrick Bourne
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6.      Trey Job
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        (512)332-8800




                                                                 EXHIBIT C
Defendants’ Joint List of Trial Witnesses – Page 1 of 3
         Case 1:19-cv-01054-RP Document 103 Filed 04/21/21 Page 16 of 54




7.      Tracy Waldron
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8.      Ann Franklin
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        Bastrop, Texas 78602
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9.      Paul Hofmann
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Respectfully submitted,


 /s/ Jeff Hobbs                                           /s/ Bradford E. Bullock_________
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 ATTORNEYS FOR DEFENDANT                                   (866) 929-1641 – facsimile
 TF HUNTERS CROSSING, L.P.                                 ATTORNEYS FOR THE CITY OF
                                                           BASTROP, TEXAS, CONNIE
                                                           SCHROEDER, WILLIE LEWIS
                                                           “BILL” PETERSON, DRUSILLA
                                                           ROGERS, LYLE NELSON, BILL
                                                           ENNIS, DOCK JACKSON, RICK
                                                           WOMBLE, MICHELLE DODSON,
                                                           AND TABITHA PUCEK




Defendants’ Joint List of Trial Witnesses – Page 2 of 3
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                                    CERTIFICATE OF SERVICE

     I hereby certify that on April 21, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record, and electronic mail.

                                                          Rick Milvenan
                                                          Ian Davis
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                                                          /s/ Jeff Hobbs
                                                   Jeff Hobbs




Defendants’ Joint List of Trial Witnesses – Page 3 of 3
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          EXHIBIT D
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 CAROLYN SMITH, THE VILLAGE AT                  §
 HUNTERS CROSSING, L.L.C. AND                   §
 LIRTEX PROPERTIES, LLC,                        §
      Plaintiffs,                               §
                                                §
 v.                                             §
                                                §
 THE CITY OF BASTROP, TEXAS, CONNIE §
 SCHROEDER, WILLIE LEWIS “BILL”                 §
 PETERSON, DRUSILLA ROGERS, LYLE                §                      Case No. 1:19-cv-01054
 NELSON, BILL ENNIS, and DOCK                   §
 JACKSON, each in his or her official capacity §
 as a member of the City Council of the City of §
 Bastrop, Texas, DRUSILLA ROGERS, RICK §
 WOMBLE, MICHELLE DODSON, LYLE                  §
 NELSON and TABITHA PUCEK, each in his §
 or her official capacity as a Director of      §
 Hunters Crossing Local Government              §
 Corporation, FORESTAR (USA) REAL               §
 ESTATE GROUP, INC., and TF HUNTERS             §
 CROSSING, L.P., as successor-in-interest to    §
 FORESTAR (USA) REAL ESTATE GROUP, §
 INC.,                                          §
         Defendants.                            §

  DEFENDANTS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

TO THE HONORABLE UNITED STATES DISTRICT JUDGE ROBERT PITTMAN:

       Defendants jointly file their Proposed Findings of Fact and Conclusions of Law:

                                      I. Findings of Fact

   1. On July 18, 2001, a petition meeting the requirements of section 372.005 of the Texas

       Local Government Code was filed with the City Secretary of the City of Bastrop, Texas

       (“City” or “Bastrop”) requesting the creation of a public improvement district (“PID”), a

       true and correct copy of which was admitted into evidence for all purposes.




{W1051154.2}                                   1
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   2. On August 25, 2001, notice of a public hearing on the advisability of the establishment of

       the proposed PID was published in the Bastrop Advertiser, a newspaper of general

       circulation in the City and the proposed PID, which was then located in the City’s

       extraterritorial jurisdiction (“ETJ”), and mailed to property owners in the proposed PID as

       required by Section 372.009 of the Texas Local Government Code, a true and correct copy

       of which was admitted into evidence for all purposes.

   3. On September 11, 2001, after holding a public hearing on the advisability of the

       establishment of the proposed PID at which all persons wishing to speak for or against the

       establishment of the PID were given an opportunity to speak, the City Council of the City

       passed and approved Resolution R-2001-19, which authorized and established the Hunters

       Crossing Public Improvement District (“Hunters Crossing PID”) as set forth by the terms

       contained therein, a true and correct copy of which was admitted into evidence for all

       purposes.

   4. Pursuant to Resolution R-2001-19, the City found it advisable that improvements described

       as Public Improvements, as described in Exhibit B attached thereto, be undertaken and

       provided in the PID.

   5. Pursuant to Resolution R-2001-19, the City put the public on notice that the estimated cost

       of the Public Improvements described in Exhibit B attached thereto was $14.5 million, not

       including interest.

   6. Pursuant to Resolution R-2001-19, the City put the public on notice that 100% of the costs

       of the Public Improvements described in Exhibit B attached thereto, would be apportioned

       to the Hunters Crossing PID and 0% would be apportioned to the City.




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   7. On September 22, 2001, the City published Resolution R-2001-19 authorizing and creating

       the establishment of the Hunters Crossing PID in the Bastrop Advertiser, a newspaper of

       general circulation in the City and the City’s ETJ where the Public Improvements were to

       be undertaken, a true and correct copy of which was admitted into evidence for all

       purposes.

   8. On October 25, 2003, notice of a public hearing to be held on November 25, 2003 to

       consider the proposal to assess benefitted property in the Hunters Crossing PID was

       published in the Bastrop Advertiser, a newspaper of general circulation in the City’s ETJ,

       and mailed to property owners in the Hunters Crossing PID as required by section 372.016

       of the Texas Local Government Code, a true and correct copy of which was admitted into

       evidence for all purposes.

   9. On November 11, 2003, the City passed and approved Resolution R-2003-34, which

       amended Resolution R-2001-19, as set forth by the terms contained therein, a true and

       correct copy of which was admitted into evidence for all purposes.

   10. Resolution R-2003-34 amended Resolution R-2001-19, in pertinent part, providing that the

       estimated cost of the PID Public Improvements (including maintenance and operation) was

       approximately $12.476 Million, not including interest.

   11. On November 11, 2003, after the City determined the estimated costs of the PID Public

       Improvements under Resolution R-2001-19, as amended by Resolution R-2003-34, the

       City passed and approved Resolution R-2003-36, which filed the proposed assessment roll

       for the Hunters Crossing PID with the City Secretary, directed the City Secretary to make

       the proposed assessment roll available for public inspection, and directed the City Secretary

       to publish the notice of the November 25, 2003 public hearing as required by section




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       372.016 of the Texas Local Government Code, a true and correct copy of which was

       admitted into evidence for all purposes.

   12. On November 25, 2003, the City Council of the City held a public hearing at which all

       interested persons were given the opportunity to speak for or against the levy of the

       proposed assessments against benefitted property within the Hunter's Crossing PID; and,

       after there were no comments from the public, the City closed the public hearing.

   13. On December 9, 2003, the City passed and approved Ordinance No. 2003-35, which levied

       an assessment in lump sum for capital costs on approximately 283.001 acres of land

       comprising the PID in the total amount of $11.962 Million ($7.365 Million for commercial

       and multi-family public infrastructure and $4.597 Million for single-family residential

       public infrastructure), a true and correct copy of which was admitted into evidence for all

       purposes.

   14. Ordinance No. 2003-35 provides the methodology for calculating apportionment of the

       lump sum Capital Assessment on a parcel-by-parcel basis based on square footage of

       Commercial and Multi-Family parcels and the number of lots for Single-Family

       Residential parcels. The City Council determined such methodology is substantially in

       proportion to the benefits conferred to such parcels by the PID Public Improvements and

       established substantial justice and equality and uniformity between respective owners.

       Ordinance No. 2003-35 establishes an Annual Assessment of $0.071 per square foot for

       Commercial parcels, $0.068 per square foot for Multi-Family parcels and a principal

       amount of $6,192 per lot for Single-Family Residential parcels or a total of $8,799 per lot

       if paid in annual installments.




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   15. Ordinance No. 2003-35 also levied an assessment in lump sum for maintenance and

       operations costs related to public improvements totaling $5.4 Million over a period of 25

       years.

   16. Ordinance No. 2003-35 bases these assessment amounts on 2003 dollars, assumes no

       inflation, and provides that estimated costs are based on engineers’ estimates, are

       approximate and may increase or decrease. Schedules supporting estimated costs are

       attached to Ordinance No. 2003-35 as Exhibit F (Tables A-F) and are summarized in

       Exhibit G to the Ordinance.

   17. The purpose of the PID, as set forth in Ordinance No. 2003-35, is to finance certain public

       improvement projects that confer a special benefit on property that comprises the

       approximately 283.001 acres within the District.

   18. Adopted as part of Ordinance No. 2003-35 is the 2003 Service and Assessment Plan (“2003

       SAP”), which reflects the lump sum assessment shown on the assessment roll (“2003

       Assessment Roll”) attached as Exhibit E-1 and E-2 to Ordinance No. 2003-35.

   19. Ordinance No. 2003-35 was filed in the Official Property Records of Bastrop County,

       Volume 1405, Page 572, on February 2, 2004

   20. On February 24, 2004, Articles of Incorporation of the Hunters Crossing Local

       Government Corporation (“Hunters Crossing LGC”), a perpetual, public, nonprofit

       corporation created pursuant to Subchapter D, Chapter 431 of the Texas Transportation

       Code were executed. The Hunters Crossing LGC was created to provide governmental

       services related to the City-approved Service Plan for the Hunters Crossing PID. A true

       and correct copy of the Articles of Incorporation was admitted into evidence for all

       purposes.




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   21. March 23, 2004, the Office of the Secretary of State of Texas issued a Certificate of

       Incorporation, Filing Number 800322750, for the Hunters Crossing LGC, a true and correct

       copy of which was admitted into evidence for all purposes.

   22. On December 14, 2004, the City Council passed and approved Ordinance No. 2004-42,

       which corrected omissions or mistakes discovered in the 2003 Assessment Roll consisting

       of scrivener’s and mathematical errors as well as a failure to denote the effects of rounding

       in the conversion of square feet.

   23. On July 12, 2011, Singleton, Clark & Company, PC, prepared an Independent

       Accountant’s Report and Analysis of Developer Costs (“Singleton Clark Report”)

       regarding the Hunters Crossing PID, between July 1, 2007 and June 30, 2010, a true and

       correct copy of which was admitted into evidence for all purposes.

   24. The Singleton Clark Report focused on costs submitted by the then-developer, Forestar

       Group, Inc., that were proposed to be reimbursed under the terms of the original

       Reimbursement Agreement. Singleton Clark found that as of June 30, 2010, actual

       examined developer costs totaled $12,338,635 (for capital construction), $826,007 (for

       engineering, planning, surveying), and $184,793 (for legal fees). Subtracting developer’s

       contribution, the Singleton Clark Report determined that as of June 30, 2010, the capital

       recovery amount before factoring in capitalized interest as a capital cost totaled

       $10,823,686.

   25. Singleton Clark separately determined that if interest were capitalized at a rate of six

       percent (6%) for ten (10) years, this additional capital cost would total $6,494,212, bringing

       the total net capital recovery amount to $17,317,898 as of June 30, 2010.




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   26. Singleton Clark concluded that as of June 30, 2010, the actual capital costs for the Hunters

       Crossing development exceeded the amount initially estimated in the 2003 Ordinance by

       forty-five percent (45%).

   27. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on September 23, 2013, a true and correct

       copy of which were admitted into evidence for all purposes.

   28. The Hunters Crossing LGC Board held a public hearing to receive input from the citizens

       of Bastrop related to the proposed budget for the Hunters Crossing PID for the budget year

       2012-2013. Chairman Mike Talbot provided the public with a summary of the PID

       operations and budget, as follows.

   29. The Hunters Crossing PID had an initial capital investment paid by the developer Sabine

       Investments for approximately $12 million dollars for the design and installation of various

       public infrastructure and improvements. No increase in the capital component of the PID

       expenditures has ever been requested or approved. As of June 30, 2010, the Developer’s

       then-current capital cost had increased to $17,317,898; however, no amendment to the

       Capital assessment was proposed for fiscal year 2014. Therefore, the capital assessment

       was set on the basis of the original debt of $11,961,260 as approved by the City Council in

       2003. The original amount of the 2003 SAP of $11,961,260 was used in the public notice

       for the 2013 meeting of the Hunters Crossing LGC and included no “new” or “additional”

       capital components to be added to the original 2003 SAP.

   30. Upon conclusion of the public hearing, the Hunters Crossing PID capital assessment was

       unchanged and the budget concerning operation and maintenance fees for the year 2012-

       2013 was unanimously approved by the Hunters Crossing LGC.




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   31. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on September 10, 2014, a true and correct

       copy of which were admitted into evidence for all purposes.

   32. The Hunters Crossing LGC held a workshop session, open to the public, concerning the

       2014-2015 Hunters Crossing PID budget proposed changes to the operations and

       maintenance for the year 2014-2015.

   33. The Hunters Crossing LGC Board unanimously approved a motion to conduct a public

       hearing on September 24, 2014 for the purpose of adopting a proposed budget.

   34. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on September 24, 2014, a true and correct

       copy of which were admitted into evidence for all purposes.

   35. The Hunters Crossing LGC held a public hearing on the proposed changes to the 2015

       budget and upon the conclusion of the public hearing Board member Brandon Johnson

       moved to approve a resolution adopting the annual budget, providing reimbursement for

       historical Capital expenditures and on-going operations and maintenance expenditures for

       public improvements in the Hunters Crossing PID. The motion was seconded by Carlos

       Liriano and the motion carried unanimously.

   36. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on August 17, 2015, a true and correct

       copy of which were admitted into evidence for all purposes.

   37. The Hunters Crossing LGC held a workshop session, open to the public, concerning the

       2015-2016 Hunters Crossing PID budget related to operations and maintenance. Board

       Member Carlos Liriano was present for this public meeting. After discussion of the budget




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       by Board members, including Carlos Liriano, the Board unanimously approved a motion

       to hold a meeting on September 23, 2015 regarding possible action on the proposed 2016

       PID budget.

   38. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on September 23, 2015, a true and correct

       copy of which were admitted into evidence for all purposes.

   39. The Hunters Crossing LGC Board, which included Board Member Carlos Liriano, held a

       public hearing on the proposed Fiscal Year 2016 Budget and Fiscal Year 2016 Operations

       and Maintenance Assessment for the Hunters Crossing PID.

   40. Upon conclusion of the public hearing, the Hunters Crossing LGC Board unanimously

       adopted a resolution to approve the annual budget for Fiscal Year 2016, providing

       reimbursements for historic capital expenditures and to on-going operations and

       maintenance expenditures for public improvements in the Hunters Crossing PID.

   41. Upon motion of Board member Carlos Liriano, the Hunters Crossing LGC Board also

       unanimously approved a motion to acknowledge the submittal of capital assessments

       attributed to the Hunters Crossing PID. This motion was in response to communication

       received from developer Forestar (USA) Real Estate Group, Inc. related to reimbursement

       for capital assessments attributed to the Hunters Crossing PID.

   42. The official meeting minutes of the Hunters Crossing LGC reflect that a quorum of its

       Board met in a duly noticed open public meeting on September 28, 2016, a true and correct

       copy of which was admitted into evidence for all purposes.

   43. The Hunters Crossing LGC Board, which included Board Member Carolyn Smith, held a

       public hearing on the proposed Fiscal Year 2016 Budget and Fiscal Year 2016 Operations




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       and Maintenance Assessment for the Hunters Crossing PID. Carlos Liriano attended the

       public hearing as a member of the public.

   44. Following a discussion of the Fiscal Year 2017 budget, the public hearing was closed and

       the Hunters Crossing LGC Board unanimously approved a resolution adopting the annual

       budget for Fiscal Year 2017, providing reimbursements for historic capital expenditures

       and to on-going operations and maintenance expenditures for public improvements in the

       Hunters Crossing PID.

   45. On September 26, 2018, in a duly noticed public meeting, following a public hearing, the

       City Council of Bastrop read and approved on first reading Ordinance No. 2017-26. On

       September 28, 2017, in a duly noticed public meeting, the City read and adopted on second

       and final reading Ordinance No. 2017-26, a true and correct copy of which was admitted

       into evidence for all purposes.

   46. Ordinance No. 2017-26 provides that the Service Plan as historically reviewed and updated

       by the Hunters Crossing LGC was conducted in accordance with applicable law and the

       City accepted all past and present reviews conducted by the Hunters Crossing LGC.

   47. Ordinance No. 2017-26 also provides that the City Council determined that Capital

       assessment roll as include in Exhibit A thereto, which relates solely to the original historic

       capital costs, continued to be correct and should not be changed from the 2003 SAP and

       approved the capital assessment roll of the Hunters Crossing PID for Fiscal Year 2018.

   48. On September 11, 2018, in a duly noticed public meeting, following a public hearing, the

       City Council of Bastrop read and approved on first reading Ordinance No. 2018-24. On

       September 25, 2018, in a duly noticed public meeting, the City Council of Bastrop read




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       and adopted on second reading Ordinance No. 2018-24, a true and correct copy of which

       was admitted into evidence for all purposes.

   49. Ordinance No. 2018-24 provides that the Service Plan as historically reviewed and updated

       by the Hunters Crossing LGC was conducted in accordance with applicable law and the

       City accepted all past and present reviews conducted by the Hunters Crossing LGC.

   50. Ordinance No. 2018-24 also provides that the City Council determined that Capital

       assessment roll as include in Exhibit A thereto, which relates solely to the original historic

       capital costs, continued to be correct and should not be changed from the 2003 SAP and

       approved the capital assessment roll of the Hunters Crossing PID for Fiscal Year 2019.

   51. On September 10, 2019, in a duly noticed public meeting, following a public hearing, the

       City Council of Bastrop read and approved on first reading Ordinance No. 2019-40. On

       September 24, 2019, in a duly noticed public meeting, following a public hearing, the City

       Council of Bastrop read and adopted on second reading Ordinance No. 2019-40, a true and

       correct copy of which was admitted into evidence for all purposes. Notice of the public

       hearing held on September 10, 2019 was published in the Bastrop Advertiser, a newspaper

       of general circulation in Bastrop County, on August 31, 2019, a true and correct copy of

       which was admitted into evidence for all purposes. Notice of the public hearing held on

       September 24, 2019 was published in the Bastrop Advertiser, a newspaper of general

       circulation in Bastrop County, on September 12, 2019, a true and correct copy of which

       was admitted into evidence for all purposes.

   52. Adopted with and incorporated into Ordinance No. 2019-40, the 2019 Amended and

       Restated Service and Assessment Plan (“2019 SAP”), attached as Exhibit A to Ordinance




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       No. 2019-40 and incorporated therein for all purposes, recited the history of the Hunters

       Crossing PID, as reflected in the aforementioned Ordinances and Resolutions.

   53. The 2019 SAP provides that Ordinance No. 2003-35 levied a lump sum capital assessment

       on approximately 283.011 acres of land that comprised the PID at $11,961,260 for Capital

       Assessments and $5,400,000 for the operation and maintenance of the PID. It further

       provides that under the 2019 SAP, the capital assessment was allocated on a parcel-by-

       parcel basis to 27.434 acres of commercial property, 24.523 acres of multi-family property,

       510 single family lots, and 37.937 acres of undeveloped land.

   54. The 2019 SAP explained changes to the PID property that the 2003 SAP did not anticipate

       or properly account for, including as of 2019: an increase in the number of single-family

       residential lots from 464 anticipated lots in the 2003 SAP to 510 actually developed lots; a

       decrease in the amount of acreage devoted to commercial property in the PID from 83.82

       acres anticipated in the 2003 SAP to 27.434 acres actually developed as commercial

       property; and a decrease in the amount of acreage devoted to multi-family property in the

       PID from 34.32 acres anticipated in the 2003 SAP to 24.523 acres actually developed as

       multi-family property.

   55. The 2019 SAP determined that as of 2019, the Original Developer had received

       reimbursements in the aggregate totaling $2,205,097.71 for approved expenditures for

       Authorized Improvements.

   56. The 2019 SAP contains an Updated Service Plan, attached as Exhibit E thereto and

       incorporated for all purposes, provides that it covers at least five years, including the

       expended costs of the Authorized Improvements and the projected annual indebtedness for

       the Authorized Improvements.




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   57. The 2019 SAP allocates the Costs of Capital Improvements to the Assessed Property by

       Land Use Category: Commercial lots are allocated based on the square footage of each

       Parcel at an Annual Installment rate of $0.071 per square foot; Multi-family lots are

       allocated based on the square footage of each Parcel at an Annual Installment rate of $0.068

       per square foot; Single-family residential lots are allocated on a per lot basis, totaling

       $8,799 per lot, which is calculated by adding the annual installment amounts found in the

       published 25-year payment schedule set forth in the 2003 SAP; and the remaining

       Undeveloped Lot, which totals 37.937 acres, is anticipated to be developed as multi-family

       property and will pay a Capital Assessment of $2,564,916.92 based on the square footage

       of the Parcel at an Annual Installment rate of $0.068 per square foot.

   58. The 2019 SAP finds a direct and special benefit to the Assessed Property from the

       Authorized Improvements, which is greater than or equal to the aggregate amount of the

       Assessments. The amount of the Capital Assessment in the 2003 SAP, which was adopted

       by and incorporated into Ordinance No. 2003-35, was $11,961,260 and the actual Cost of

       the Capital Improvements incurred by the Developer through June 30, 2007 was

       $12,498,265, which increased to $13,349,435 as of June 30, 2010, which additionally

       increased to $13,894,993 as of June of 2019.

   59. The Developer agreed to pay an estimated $256,443 to construct the remaining portion of

       Bear Hunter Drive, a public street located in the Hunters Crossing PID, bringing the total

       actual cost to the Developer for Capital Improvements located within the Hunters Crossing

       PID to at least $14,151,436.




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   60. The estimated Cost of the Capital Improvements levied in a lump sum assessment in 2003

       against the property in the Hunters Crossing PID of $11,961,260 is less than the total actual

       cost to the Developer for Capital Improvements located within the Hunters Crossing PID.

   61. The special benefit received by Commercial Lots, Multi-Family Lots, Single-Family

       Residential Lots and the Undeveloped Property is greater than the actual Costs of the

       Authorized Improvements levied as Assessments against the Assessed Property.

   62. The 2019 SAP clarified and extended the Annual Installment payment option set forth in

       the 2003 SAP. The 2003 SAP did not clearly set forth an annual installment plan for the

       payment of Capital Assessments on Commercial and Multi-Family Property and the

       Annual Installment plan for the payment of Capital Assessments on Single-Family

       Residential contained mathematical errors. To the extent that an Annual Installment

       payment option is contemplated in the 2003 SAP, it would end in 2027. Any remaining

       amounts owed by property owners in the Hunters Crossing PID for their apportioned

       Capital Assessment at that time, based on square footage, or by lot, as applicable, would

       be due and payable in full in 2028 under the 2003 SAP.

   63. The 2019 SAP clarifies that a property owner’s option to pay apportioned Capital

       Assessments by Annual Installment applies to Commercial, Multi-Family and Single-

       Family Residential properties. The 2019 SAP extends the option of each owner to pay the

       Annual Installment for each property classification as follows: if not already paid in full,

       Commercial Assessments collected as Annual Installments continue until the amount of

       the Commercial Assessment is paid in full or through January 31, 2034; if not already paid

       in full, the Multi-Family and Undeveloped Lot Assessments collected as Annual

       Installments continue until the amount of the Multi-Family and Undeveloped Lot




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       Assessment is paid in full or through January 31, 2041; and, if not already paid in full, the

       Single-Family Assessments collected as Annual Installments continue until the amount of

       the Single-Family Assessment is paid in full or through January 31, 2030.

   64. The 2019 SAP provides that after these dates, any unpaid portion of an Assessment, which

       is not delinquent, shall be reduced to zero and all liens related to any unpaid Assessment

       shall be released.

   65. The 2019 SAP contains an Assessment Roll, attached as Exhibit F thereto and incorporated

       for all purposes. The Assessment Roll reflects, as of the date of the passage of Ordinance

       No. 2019-40, the outstanding, unpaid Capital Assessment on a parcel-by-parcel basis owed

       by each property owner in the Hunters Crossing PID and accurately reflects amounts

       previously paid by each property owner and credited to the applicable parcel. The unpaid

       Capital Assessment attributable to each parcel was calculated by the City by consulting

       County of Bastrop Tax Assessor and Collector records reflecting past assessment payments

       made by property owners within the Hunters Crossing PID and correlating those payments

       to the correct parcel so that unpaid Capital Assessment could be correctly calculated for

       each parcel. A reconciliation of these past payments was performed by the City’s Chief

       Financial Officer/Hunters Crossing LGC’s Staff Liaison, which serves as the basis to

       calculate remaining unpaid capital assessment for each parcel, a true and correct copy of

       which was admitted into evidence for all purposes.

   66. The 2019 SAP reflects that the City Council of Bastrop approved, confirmed and ratified

       in all respects the prior actions taken by the City Council relating to the creation of the PID,

       the approval of the original 2003 SAP and the levy of assessments within the PID.




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   67. On September 24, 2019, in a duly noticed public meeting, the City Council of Bastrop

       adopted Resolution R-2019-86, which included the Amended and Restated Public

       Improvement District Development and Reimbursement Agreement, attached thereto as

       Exhibit A, a true and correct copy of which was admitted into evidence for all purposes.

   68. Exhibit A to Resolution R-2019-86 provides that the Developer is entitled to a maximum

       capital reimbursement amount of $11,961,260 pursuant to the 2003 and 2019

       reimbursement agreements. Exhibit A to Resolution R-2019-86 provides that the allocation

       of PID payments to the Developer shall be applied only to the allocated unpaid principal

       and all previously accrued interest, if any, shall be waived and cancelled so long as no

       owner challenges the allocation of PID assessments and provided reimbursement amounts

       are consistent with the Reimbursement Agreement.

   69. Exhibit A to Resolution R-2019-86 provides that as of the date of adoption by the City, the

       Developer had been paid $2,205,097.71 from assessment Revenue. Exhibit A to Resolution

       R-2019-86 provides that the Developer is owed $9,756,162.29, but that the Reimbursement

       Agreement Balance is further reduced by the 2019 Assessment Roll to an amount equal to

       $7,376,072.02, which is the amount of all unpaid but levied capital assessments to be

       collected by the City and paid to the Developer.

   70. Pursuant to the 2019 SAP, as adopted and approved by Ordinance No. 2019-40, owners of

       Assessed Property who claim an error in calculating their assessment are required to send

       written notice of protest within thirty days of the Assessment Roll and Annual Installments

       being made available for public inspection by the City Secretary.

   71. The City Secretary received no challenges claiming an error in calculating an assessment

       from any property owner in the Hunters Crossing PID within thirty days after the




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       Assessment Roll and Annual Installments were made available for public inspection by the

       City Secretary.

   72. On or about December 23, 2015, Plaintiff Lirtex Properties, LLC acquired property located

       in the Hunters Crossing PID by Special Warranty Deed from THAT DALH – Bastrop LP,

       a true and correct copy of which was admitted into evidence for all purposes.

   73. The Special Warranty Deed to Lirtex Properties, LLC provides in exceptions to the Deed

       that the property was conveyed subject to the rights of the Hunters Crossing Public

       Improvement District to levy taxes and issue bonds, as recorded in Plat Cabinet No. 5, Page

       90A, Plat Records of Bastrop County.

   74. On or about November 18, 2017, Plaintiff The Village at Hunters Crossing, LLC acquired

       property located in the Hunters Crossing PID by Special Warranty Deed from Howard

       Schain, a true and correct copy of which was admitted into evidence for all purposes. On

       or about May 19, 2015, Howard Schain acquired property located in the Hunters Crossing

       PID by Special Warranty Deed from Forestar (USA) Real Estate Group, Inc., a true and

       correct copy of which was admitted into evidence for all purposes.

   75. The Special Warranty Deed to Howard Schain provides in exceptions to the Deed that the

       property was conveyed subject to the rights of the Hunters Crossing Public Improvement

       District to levy taxes and issue bonds. The Special Warranty Deed to Plaintiff The Village

       at Hunters Crossing, LLC conveyed the property subject to the exceptions to conveyance

       by, through or under Grantor, Howard Schain.

   76. Plaintiff Carolyn Smith is a representative of the Smith Family Revocable Trust. On or

       about December 2, 2014, Carolyn S. Smith and Raymond L. Smith, trustees of the Smith

       Revocable Trust conveyed property located in the Hunters Crossing PID by Deed Without




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       Warranty to Carolyn S. Smith and Raymond L. Smith, trustees of the Smith Family

       Revocable Trust, a true and correct copy of which was admitted into evidence for all

       purposes. On or about July 30, 2004, Lennar Homes of Texas Sales and Marketing, Ltd.

       conveyed property located in the Hunters Crossing PID by Special Warranty Deed to Smith

       Revocable Trust, a true and correct copy of which was admitted into evidence for all

       purposes. The Single-Family Residential property owned by the Smith Family Revocable

       Trust is depicted in the Hunters Crossing Section Three B Final Plat, a true and correct

       copy of which was admitted into evidence for all purposes. The Hunters Crossing Section

       Three B Final Plat is filed of record in the County Records of Bastrop County as of April

       13, 2004.

   77. The Hunters Crossing Section Three B Final Plat provides that lots in the plat are within

       the Hunters Crossing Public Improvement District and are subject to PID assessments and

       that the PID is responsible for maintenance of collector street right of way landscaping,

       parkland and trail maintenance, landscaping and drainage right-of-way.

   78. Plaintiffs Lirtex Properties, LLC, The Village at Hunters Crossing, LLC and Carolyn

       Smith, individually and as trustee for the Smith Family Revocable Trust, took title to their

       respective properties with actual or constructive knowledge that Bastrop had the authority

       to levy, and in fact had levied, assessments against their respective properties within the

       Hunters Crossing PID and such assessments are less than or equal to the special benefit

       received by each property from PID Capital Improvements constructed and paid for by the

       Developer.

   79. The properties owned by Plaintiffs Lirtex Properties, LLC, The Village at Hunters

       Crossing, LLC and Carolyn Smith, individually and as trustee for the Smith Family




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       Revocable Trust, which are located within the Hunters Crossing PID have received and

       continue to receive a direct, special benefit from the PID Capital Improvements financed

       with the PID assessments levied in 2003.

   80. Ordinance No. 2019-40 did not levy an additional Capital Assessment or increase the

       Capital Assessment originally levied in lump sum to the approximately 283.001 acre

       property that comprises the Hunters Crossing PID, but rather adopted and ratified the

       original lump sum Capital Assessment levied by Ordinance No. 2003-35 in the amount of

       approximately $11.962 Million.

   81. Ordinance No. 2019-40 apportioned the lump sum Capital Assessment to individual

       parcels located within the Hunters Crossing PID based on the special benefit received by

       each parcel, as calculated by the square footage of Commercial and Multi-Family parcels

       and per-lot for Single-Family Residential parcels.

   82. Ordinance No. 2019-40 contains an Assessment Roll, which accurately reflects the

       apportioned, outstanding, unpaid Capital Assessment attributable to each parcel as of

       September 24, 2019, the date on which Ordinance No. 2019-40 was adopted and approved

       by the City of Bastrop.

   83. Resolution R-2019-86 entitles the Developer, TF Hunters Crossing, LP, to a maximum

       capital reimbursement amount of $11,961,260 pursuant to the 2003 and 2019

       reimbursement agreements. The 2019 Reimbursement Agreement waives and cancels

       accrued interest so long as no owner challenges the allocation of PID assessments and

       provided reimbursement amounts are consistent with the Reimbursement Agreement.

   84. Though actual Capital Improvement costs in the Hunters Crossing PID exceed the amount

       of the Capital Assessment levied in lump sum by Ordinance No. 2003-35, Ordinance No.




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       2019-40 does not increase or alter the Capital Assessment levied in lump sum by Ordinance

       No. 2003-35. Ordinance No. 2019-40 apportions the Capital Assessment levied in lump

       sum on the basis of actual square footage of actual Commercial and Multi-Family parcels

       and on a per-lot basis for Single-Family Residential parcels.

   85. Ordinance No. 2019-40 was finally adopted on second reading by the City of Bastrop

       following public notice of a meeting of the City Council that adequately described the

       action under consideration by the City related to the consideration and approval of

       Ordinance No. 2019-40, which was posted at least 72 hours prior to the meetings at which

       Ordinance No. 2019-40 was considered and approved.

   86. Ordinance No. 2019-40 was finally adopted on second reading by the City of Bastrop

       following public hearings that occurred on September 10, 2019 and September 24, 2019,

       respectively, which were advertised in the Bastrop Advertiser, a newspaper of general

       circulation in Bastrop County, on August 31, 2019 and September 12, 2019, respectively,

       which adequately described the action under consideration by the City related to the

       consideration and approval of Ordinance No. 2019-40, which were advertised at least two

       weeks prior to the meetings at which Ordinance No. 2019-40 was considered and approved.

   87. Members of the public, including Plaintiffs, had actual and/or constructive notice of the

       action under consideration by the City of Bastrop related to the consideration and adoption

       of Ordinance No. 2019-40 prior to its adoption by the City.

   88. Members of the public, including Plaintiffs, were afforded two opportunities to be heard

       and voice objections to Ordinance No. 2019-40 prior to its final adoption at public hearings

       that occurred on September 10, 2019 and September 24, 2019, respectively.




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   89. Ordinance No. 2019-40 does not charge interest on optional installment payments, but

       instead limits the unpaid Capital Assessment to actual costs, which Capital Assessment

       was apportioned on a parcel-by-parcel basis based on the special benefit received by each

       parcel, calculated on a square footage basis for Commercial and Multi-Family parcels and

       on a per-lot basis for Single-Family Residential parcels.

   90. The City of Bastrop properly applied credits, that is, amounts previously paid by property

       owners, against the apportioned Capital Assessment applicable to each parcel and the

       Assessment Roll, which is part of Ordinance No. 2019-40 properly reflects the remaining

       amount of the apportioned Capital Assessment applicable to each parcel as of the date of

       the adoption of the Ordinance.

   91. Ordinance No. 2019-40 permits property owners within the Hunters Crossing PID to pay

       off their parcel’s outstanding apportioned Capital Assessment in full at the owner's option

       at any time. Upon paying off a parcel’s outstanding apportioned Capital Assessment, and

       any applicable fees authorized by statute, a property owner is entitled to obtain a full release

       of the lien on the parcel executed by the City pursuant to the terms of Ordinance No. 2019-

       40.

   92. Since the passage of Ordinance No. 2019-40, no Plaintiff has tendered to the City their

       respective parcel’s outstanding apportioned Capital Assessment in full, thereby entitling

       that Plaintiff to a full release of the lien executed by the City on their respective parcel that

       is located within the Hunters Crossing PID.

   93. Ordinance No. 2019-40 did not “reassess” or levy a “new assessment” against the Hunters

       Crossing PID, or any parcel located therein.




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   94. Ordinance No. 2019-40 does not retroactively change a sum due for services already

       performed by a City or its agent related to the amount of the Assessments. Rather,

       Ordinance No. 2019-40 apportions Capital Assessment levied in lump sum in 2003 on the

       basis of the special benefit received by each property based on its land-use classification.

   95. Ordinance No. 2019-40 does not attempt to levy a new assessment by retroactively

       imposing higher costs and interest on Hunters Crossing PID property owners.

   96. Ordinance No. 2019-40 does not increase the amount due from all property owners related

       to the Capital Assessment by $2,596,197.

   97. Ordinance No. 2019-40 does not require any property owner in the Hunters Crossing PID

       to pay any part of their apportioned Capital Assessment that was levied in lump sum in

       2003 more than once.

   98. TF Hunters Crossing, LP (“TFHC”) is a Delaware limited partnership formed on January

       18, 2018. As such, it did not have any communications with or make any misstatement of

       existing fact to any of the Plaintiffs at or before the time they acquired their respective

       properties in the Hunters Crossing Public Improvement District.

   99. TFHC did not make any misstatement of existing fact to any of the Plaintiffs prior to the

       City of Bastrop’s enactment of Ordinance No. 2019-40 and the 2019 Amended and

       Restated Service and Assessment Plan for the Hunters Crossing Public Improvement

       District.

   100.        In 2018 and 2019, through communications and negotiations with officials and

       counsel for the City of Bastrop, TFHC engaged in an effort to persuade the City of Bastrop

       to promulgate Ordinance No. 2019-40 and the 2019 Amended and Restated Service and

       Assessment Plan.




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                                    II. Conclusions of Law

   101.        Plaintiffs Carolyn Smith, individually or as representative of the Smith Family

       Revocable Trust, The Village at Hunters Crossing, LLC and Lirtex Properties, LLC filed

       their Verified Original Complaint on October 28, 2019. Complaints regarding acts or

       omissions by the City of Bastrop related to the failure of the City to review and update a

       service and assessment plan for the Hunters Crossing PID prior to October 28, 2017 do not

       state a cognizable claim for which relief can be granted pursuant to procedural or

       substantive due process claims brought under 42. U.S.C. §1983 because they occurred

       more than two-years prior to the date on which Plaintiffs filed their Original Complaint.

   102.        Resolution R-2001-19, Resolution R-2003-34, Ordinance No. 2003-35, and

       Ordinance No. 2004-42, and all attachments and exhibits thereto, were properly adopted

       by the City of Bastrop pursuant to the lawful authority set forth in Chapter 372 of the Texas

       Local Government Code and were not void at the time of their adoption. The third

       anniversary of the effective date of these Resolutions and Ordinances expired and no

       lawsuit to annul or invalidate these acts, or the proceedings at which they were adopted,

       was filed. Therefore, Resolution R-2001-19, Resolution R-2003-34, Ordinance No. 2003-

       35, and Ordinance No. 2004-42, and all attachments and exhibits thereto, are conclusively

       presumed valid and were adopted in compliance with all applicable requirements set forth

       in Chapter 372 of the Texas Local Government Code in effect at the time of their adoption.

   103.        In Resolutions R-2001-19 and R-2003-34, the City Council, acting in its legislative

       capacity, made a policy determination that certain infrastructure improvements described

       therein were advisable and would confer special benefits to the property that was proposed




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       to comprise the Hunters Crossing PID. The provision of infrastructure improvements to

       undeveloped property, as set forth in Resolutions R-2001-19 and R-2003-34, is rationally

       related to a legitimate governmental goal, the reasonable application of which is not

       objectively arbitrary or irrational.

   104.        Acting in its legislative capacity, the City of Bastrop adopted Ordinance No. 2003-

       35, which created the Hunters Crossing PID and adopted the 2003 SAP, which levied a

       Capital Assessment in lump sum on approximately 283.001 acres of property in the amount

       of approximately $11.962 Million, which was based on engineers’ estimates of costs of

       construction of infrastructure related to Commercial, Multi-Family and Single-Family

       Residential land-uses in the property that comprises the Hunters Crossing PID, and which

       was adopted pursuant to all applicable requirements set forth in Chapter 372 of the Texas

       Local Government Code in effect at the time of its adoption. The provision of the proposed

       infrastructure improvements to undeveloped property and the lump sum Capital

       Assessment in the amount of $11.962 Million, which was based on engineers’ estimates of

       costs, is reasonable, rationally related to a legitimate governmental goal and is not

       objectively arbitrary or irrational.

   105.        The method for apportioning the Capital Assessment that was levied in lump sum

       on approximately 283.001 acres of property in the Hunters Crossing PID and amount

       attributable to each land-use classification for the purpose of calculating an apportioned

       Capital Assessment, as set forth in Ordinance No. 2003-35, which are based on the special

       benefit received by each parcel and are calculated on the basis of square footage for

       Commercial and Multi-Family parcels and per-lot for Single-Family Residential parcels is




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       reasonable, rationally related to a legitimate governmental goal and is not objectively

       arbitrary or irrational.

   106.        Ordinance No. 2003-35 does not finally apportion the Capital Assessment levied in

       lump sum on approximately 283.001 acres of property in the Hunters Crossing PID because

       the property had not been developed and most individual parcels had not been subdivided

       at the time of its adoption so that a parcel’s apportioned Capital Assessment could not be

       finally calculated on the basis of square footage or per-lot, as applicable, until such final,

       approved subdivision occurred. Ordinance No. 2003-35’s failure to finally apportion the

       Capital Assessment levied in lump sum on approximately 283.001 acres of property in the

       Hunters Crossing PID is reasonable and rationally related to a legitimate governmental

       goal of accurately apportioning the Capital Assessment on the basis of the special benefit

       received by each parcel relative to its final square footage or the number of lots, as

       applicable, and is not objectively arbitrary or irrational.

   107.        Acting in its legislative capacity, the City of Bastrop adopted Ordinance No. 2004-

       42 prior to any PID assessments being paid to the City, which corrected scrivener’s and

       mathematical errors, which was reasonable and rationally related to a legitimate

       governmental interest of accurately levying the Capital Assessment on the basis of the

       special benefit received by each parcel relative to its final square footage or the number of

       lots, as applicable, and is not objectively arbitrary or irrational.

   108.        Acting in its legislative capacity, the City of Bastrop entered into the 2004

       Reimbursement Agreement with the Developer related to the reimbursement of costs

       incurred by the Developer for the planning, constructing, and financing on behalf of the

       PID Capital Improvements described in the 2003 SAP, subject to the review and approval




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       of such plans by the City, pursuant to and authorized by Chapter 372 of the Texas Local

       Government Code. The terms and conditions contained therein are reasonable and

       rationally related to the legitimate governmental interest of funding infrastructure

       improvements for the purpose of fostering development and are not objectively arbitrary

       or irrational.

   109.        Acting in its legislative capacity, the City of Bastrop adopted Ordinance No. 2017-

       26, which approved and updated the service plan related to Assessments for the Hunters

       Crossing PID and approved the Fiscal Year 2018 Assessment Roll for the Hunters Crossing

       PID, which was reasonable and rationally related to the legitimate governmental interest

       of compliance with Chapter 372 of the Texas Local Government Code regarding annual

       review of service plans and is not objectively arbitrary or irrational, and which was adopted

       pursuant to all applicable requirements set forth in Chapter 372 of the Texas Local

       Government Code in effect at the time of its adoption.

   110.        Acting in its legislative capacity, the City of Bastrop adopted Ordinance No. 2018-

       24, which approved and updated the service plan related to Assessments for the Hunters

       Crossing PID and approved the Fiscal year 2019 Assessment Roll for the Hunters Crossing

       PID, which was reasonable and rationally related to the legitimate governmental interest

       of compliance with Chapter 372 of the Texas Local Government Code regarding annual

       review of service plans and is not objectively arbitrary or irrational, and which was adopted

       pursuant to all applicable requirements set forth in Chapter 372 of the Texas Local

       Government Code in effect at the time of its adoption.

   111.        Acting in its legislative capacity, the City of Bastrop adopted Ordinance No. 2019-

       40, which approved a 2019 Amended SAP, approved the Fiscal Year 2020 Budget and




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       Assessment Roll, apportioned the Capital Assessment levied in lump sum by Ordinance

       No. 2003-35, ratified and confirmed all prior actions of the City Council of Bastrop related

       to the District, confirmed actual costs of PID Capital Improvements, credited past

       payments made towards the Capital Assessment on a parcel-by-parcel basis, provided for

       the owner's option to either pay in lump sum or pay in annual instalments the Capital

       Assessments on a parcel-by-parcel basis and made findings of special benefits received by

       properties on a parcel-by-parcel basis based on the actual costs of the PID Capital

       Improvements and the classified land-use as measured by a square-foot or per-lot basis, as

       applicable, which is reasonable and rationally related to the legitimate governmental

       interest of compliance with Chapter 372 of the Texas Local Government Code regarding

       operation of PIDs and is not objectively arbitrary or irrational, and which was adopted

       pursuant to all applicable requirements set forth in Chapter 372 of the Texas Local

       Government Code in effect at the time of its adoption.

   112.        Ordinance No. 2019-40 did not increase, alter, amend, re-assess or otherwise

       change the amount of the Capital Assessment levied in lump sum on approximately

       283.001 acres in Hunters Crossing PID in the amount of approximately $11.962 Million.

   113.        The allocation of the Capital Assessment levied in lump sum on approximately

       283.001 acres in the Hunters Crossing PID by Ordinance No. 2019-40 on the basis of

       special benefits received by properties on a parcel-by-parcel basis as set forth in the

       Assessment Roll attached thereto is reasonable and rationally related to the legitimate

       governmental interest of financing infrastructure improvements as allowed under Chapter

       372 of the Texas Local Government Code and is not objectively arbitrary or irrational.




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   114.        The option to make installment payments over an extended period of time that may

       be made by property owners in the Hunters Crossing PID towards each parcel’s

       apportioned share of the Capital Assessment, as set forth in Ordinance No. 2019-40, does

       not increase the amount of the Capital Assessment attributable to each parcel and is

       reasonable and rationally related to the legitimate governmental interests of financing

       infrastructure improvements as allowed under Chapter 372 of the Texas Local Government

       Code and providing property owners the option to make installment payments in lieu of a

       larger single lump sum payment of the apportioned amount of each parcel’s share of the

       Capital Assessment, and is not objectively arbitrary or irrational.

   115.        Ordinance No. 2019-40, which accurately reflects each parcel’s remaining

       obligation related to its apportioned share of the Capital Assessment, accurately credited

       past payments attributable to each parcel, which is reasonable and rationally related to the

       legitimate governmental interest of financing infrastructure improvements as allowed

       under Chapter 372 of the Texas Local Government Code and is not objectively arbitrary or

       irrational.

   116.        Ordinance No. 2019-40, afforded property owners the ability to challenge alleged

       errors in calculating the amount of Capital Assessment reflected as outstanding per parcel

       in the Assessment Roll, which is reasonable and rationally related to the legitimate

       governmental interest of financing infrastructure improvements as allowed under Chapter

       372 of the Texas Local Government Code and is not objectively arbitrary or irrational.

   117.        Ordinance No. 2019-40 was adopted in conformity with all requirements set forth

       in Chapter 372 of the Texas Local Government Code and represents a reasonable exercise

       of a local government’s legislative power and is rationally related to the legitimate




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       governmental interest of financing infrastructure improvements as allowed under Chapter

       372 and is not objectively arbitrary or irrational.

   118.        Acting in its legislative capacity, the City adopted Resolution R-2019-86, which

       sets forth the terms under which the Developer is to be reimbursed for the outstanding

       Capital Assessment as it has been apportioned on a parcel-by-parcel basis in Ordinance

       No. 2019-40. The terms and conditions of Resolution R-2019-86 are reasonable and

       rationally related to the legitimate governmental interest of financing infrastructure

       improvements as allowed under Chapter 372 of the Texas Local Government Code and are

       not objectively arbitrary or irrational.

   119.        Plaintiffs have not met their burden to negate every conceivable basis that might

       support the City’s adoption of Ordinance No. 2019-40 and Resolution R-2019-86.

   120.        The City of Bastrop possessed a reasonable factual basis for the adoption of

       Ordinance No. 2019-40 and Resolution R-2019-86.

   121.        Neither Ordinance No. 2019-40 nor Resolution R-2019-86 is arbitrary or capricious

       and neither violates applicable state law.

   122.        Plaintiffs had notice of the City’s decision to consider Ordinance No. 2019-40 and

       Resolution R-2019-86 prior to their adoption and also had a meaningful opportunity to be

       heard prior to their adoption.

   123.        Plaintiffs did not suffer monetary damages as a result of the adoption of Ordinance

       No. 2019-40 or Resolution R-2019-86.

   124.        Plaintiffs did not suffer monetary damages as a result of the adoption of Ordinance

       No. 2003-35 or Resolution R-2019-86.




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   125.        Plaintiffs received a special benefit from the PID Capital Improvements that

       exceeded the amount of the PID Capital Assessment levied by Ordinance No. 2003-35 and

       allocated to each Plaintiff's parcel by Ordinance No. 2019-40.

   126.        The share of the PID Capital Assessment levied by Ordinance No. 2003-35 and

       allocated to each Plaintiff's parcel by Ordinance No. 2019-40 is a lien against the benefitted

       property until paid.

   127.        Plaintiffs are not prevailing parties under 42 U.S.C. §1983.

   128.        Plaintiffs are not entitled to attorney’s fees under 42 U.S.C. §1988 or any other state

       or federal statute.

   129.        Defendants CONNIE SCHROEDER, WILLIE LEWIS “BILL” PETERSON,

       DRUSILLA ROGERS, LYLE NELSON, BILL ENNIS, and DOCK JACKSON, each in

       his or her official capacity as a member of the City Council of the City of Bastrop, Texas,

       DRUSILLA ROGERS, RICK WOMBLE, MICHELLE DODSON, LYLE NELSON and

       TABITHA PUCEK, and LYNDA HUMBLE, TREY JOB and PAUL HOFMANN, in their

       respective official capacities did not act beyond the scope of their authority under state or

       local law in enacting or enforcing Ordinance No. 2019-40 or Resolution R-2019-86.

   130.        When it adopted Ordinance No. 2019-40 and Resolution R-2019-86, the City of

       Bastrop complied with Chapter 311 of the Texas Government Code in that the Ordinance

       and Resolution are in compliance with the constitution of the State and the United States,

       the Ordinance and Resolution were intended by the City to be effective in their entirety,

       the City intended a just and reasonable result, the City intended a result feasible of

       execution, and the City intended that the public interest would be favored over any private

       interest.




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   131.        Enforcing the plain terms of Ordinance No. 2019-40 and Resolution R-2019-86

       does not render an absurd result.

   132.        There is no evidence that TFHC made any misstatement of fact to Plaintiffs, so

       Plaintiffs have not met their burden of proof in support of their claim against TFHC for

       negligent misrepresentation.

   133.        There is no evidence that any of the Plaintiffs relied upon any misstatement of fact

       made to them by TFHC, so Plaintiffs have not met their burden of proof in support of their

       claim against TFHC for negligent misrepresentation.

   134.        TFHC did not owe Plaintiffs a duty to disclose that supports a negligent

       misrepresentation claim.

   135.        Under the Noerr-Pennington doctrine, TFHC is immune to Plaintiffs’ civil

       conspiracy claims, and the “sham” exception to this doctrine is unavailable because TFHC

       achieved its intended result with the passage of the Ordinance No. 2019-40 and the 2019

       Amended and Restated Service and Assessment Plan, so there is no evidence that TFHC’s

       lobby efforts with the City of Bastrop were objectively baseless.

   136.        Plaintiffs have not met their burden of proof on any claim asserted in their live

       pleading and Defendants are entitled to judgment as a matter of law.

   137.        Any Finding of Fact that constitutes a Conclusion of Law is so designated and any

       Conclusion of Law that constitutes a Finding of Fact is so designated.




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Respectfully submitted:

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ATTORNEYS FOR THE CITY OF BASTROP, TEXAS; CONNIE SCHROEDER; WILLE
LEWIS “BILL” PETERSON; DRUSILLA ROGERS; LYLE NELSON; BILL ENNIS;
DOCK JACKSON; RICK WOMBLE; MICHELLE DODSON; AND TABITHA PUCEK

/s/ Jeffrey J. Hobbs, with permission
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TF HUNTERS CROSSING, L.P.




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                               CERTIFICATE OF SERVICE

    I hereby certify that a true and correct copy of the foregoing document was served according
to the Federal Rules of Civil Procedure on all parties of record via email on April 21, 2021.


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ATTORNEYS FOR PLAINTIFFS


                                                   /s/ Bradford E. Bullock
                                                   BRADFORD E. BULLOCK




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           EXHIBIT E
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 CAROLYN SMITH, et al.,                                 §
     Plaintiffs,                                        §
                                                        §
 v.                                                     §                Case No. 1:19-cv-01054-RP
                                                        §
 THE CITY OF BASTROP, TEXAS, et al.,                    §
      Defendants.                                       §

             DEFENDANTS’ ESTIMATE OF PROBABLE LENGTH OF TRIAL

        Defendants jointly estimate that the nonjury trial of this natter will last no more than three

days.


Respectfully submitted,


 /s/ Jeff Hobbs                                             /s/ Bradford E. Bullock_________
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 TF HUNTERS CROSSING, L.P.                                   ATTORNEYS FOR THE CITY OF
                                                             BASTROP, TEXAS, CONNIE
                                                             SCHROEDER, WILLIE LEWIS
                                                             “BILL” PETERSON, DRUSILLA
                                                             ROGERS, LYLE NELSON, BILL
                                                             ENNIS, DOCK JACKSON, RICK
                                                             WOMBLE, MICHELLE DODSON,
                                                             AND TABITHA PUCEK




Defendants’ Estimate of Probable Length of Trial – Page 1 of 2               EXHIBIT E
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                                   CERTIFICATE OF SERVICE

     I hereby certify that on April 21, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record, and electronic mail.

                                                       Rick Milvenan
                                                       Ian Davis
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                                                        /s/ Jeff Hobbs
                                                 Jeff Hobbs




Defendants’ Estimate of Probable Length of Trial – Page 2 of 2
